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                          IN THE UNITED STATES COURT
                               OF FEDERAL CLAIMS


 LAURA MEDRANO., et al.,

                                   Plaintiffs,
                                                             No. 20-1245C
                         v.                                  Judge Schwartz

 THE UNITED STATES,

                                   Defendant.


                                JOINT STATUS REPORT

       Pursuant to the Court’s February 25, 2022 order (ECF No. 29) the parties

respectfully submit this joint status report “addressing (1) whether all or part of the

motion to dismiss in this case may be resolved in the same way as comparable parts of

the motion in Alkire, and (2) any specific legal or factual questions that distinguish this

case from Alkire and which deserve attention at argument.” Id. The parties have met and

conferred and respectfully advise the Court as follows:

       This case presented an additional claim for compensation for pre-shift health

screening; however, Plaintiffs have agreed to withdraw that claim in light of the Alkire

decision. Additionally, although both sides respectfully disagree with certain portions of

the analysis of the Alkire decision, there are no legal or factual questions regarding the

claims in this lawsuit that distinguish this case from Alkire..
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March 8, 2022                       Respectfully submitted,


                                    BRIAN M. BOYNTON
/s/ Don J. Foty                     Principal Deputy Assistant Attorney
Don J. Foty                         General
Texas Bar No. 24050022
Hodges & Foty, LLP                  PATRICIA M. McCARTHY.
4409 Montrose Blvd., Suite 200      Director
Houston, Texas 77006
Telephone: (713) 523-0001           s/ Reginald T. Blades, Jr.
Facsimile: (713) 523-1116           REGINALD T. BLADES, JR.
dfoty@hftrialfirm.com               Assistant Director

Of Counsel:                         s/ David M. Kerr
David Hodges                        DAVID M. KERR
Anthony J. Lazzaro                  Trial Attorney
Lori M. Griffin                     Commercial Litigation Branch
Hodges & Foty, LLP                  Civil Division
                                    U.S. Department of Justice
Attorneys for Plaintiffs            P.O. Box 480
                                    Ben Franklin Station
                                    Washington, DC 20044
                                    Telephone: (202) 307-3390
                                    Email: David.M.Kerr@usdoj.gov

                                    Attorneys for Defendant




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